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                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY

     IN RE: JOHNSON & JOHNSON                                         MDL No. 2738
     TALCUM POWDER PRODUCTS
     MARKETING, SALES PRACTICES,
     AND PRODUCTS LIABILITY LITIGATION

     This document relates to: AUSTIN, ET AL. v. JOHNSON
     & JOHNSON, ET AL., C.A. No. 3:23-cv-22364 (E.D.
     Pennsylvania)


                             MOTION TO REMAND CASE TO THE
                          PHILADELPHIA COURT OF COMMON PLEAS

           TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD, PLEASE TAKE

    NOTICE that Plaintiffs hereby respectfully move this Court pursuant to Case Management Order

    No. 1 to remand this case to the Philadelphia Court of Common Pleas for further proceedings.

           As set forth in the concurrently-filed Memorandum of Law in support, defendants

    Johnson & Johnson, Johnson & Johnson Consumer Inc., Johnson & Johnson Holdco Inc.,

    Janssen Pharmaceuticals, Inc., Kenvue Inc., and LTL Management, LLC (collectively referred to

    as the “Defendants”) improperly removed this action in violation of 28 U.S.C. § 1447(c) on

    October 26, 2023. The Judicial Panel on Multidistrict Litigation transferred this action to this

    Court on November 15, 2023, as part of the In re Talcum Powder MDL. Plaintiffs seek prompt

    remand of this action to the Pennsylvania Court of Common Pleas.

           Plaintiffs' motion to remand should be granted because (1) complete diversity of

    citizenship is lacking, as Plaintiffs and Defendants are citizens of the same states and Plaintiffs’

    claims against Janssen are recognized as meritorious under prevailing Pennsylvania law and,

    therefore, Janssen was not fraudulently joined in this action and (2) Plaintiffs claims have been

    properly joined.

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           This Court, in recognition that the Third Circuit has not addressed the issue of fraudulent

    misjoinder, has followed the majority of courts within this District and others and held that, “the

    issue of misjoinder should be resolved by the state court as a matter of removal jurisprudence.”

    In re Plavix Product Liability and Marketing Litigation, MDL No. 3:13-cv-2418-FLW, 2014

    WL 4954654, *10 (D.N.J. Oct. 1, 2014) (Wolfson, J.) (citing Kaufman v. Allstate Ins. Co., No.

    07–6160, 2010 WL 2674130, at *8 (D.N.J. June 30, 2010) (“The Court, without guidance from

    the Third Circuit, and noting other district courts' reluctance to embrace the Tapscott doctrine

    finds that this issue would be better decided in state court, the court in which the parties were

    originally joined.”); Belmont Condo. Ass'n, Inc. v. Arrowpoint Capital Corp., No. 11–02900,

    2011 WL 6721775, at *7 (D.N.J. Dec. 20, 2011) (“This Court declines to include procedural

    misjoinder as an alternative ground for fraudulent joinder.”); see also In re Paulsboro

    Derailment Cases, No. 13–5583, 2014 WL 197818, at *3–7 (D.N.J. Jan.13, 2014); Prudential

    Ins. Co. of Am. v. Barclays Bank PLC, No. 12–5854, 2013 WL 221995, at *10 n. 13 (D.N.J.

    Jan.22, 2013) (“The Third Circuit has never approved extending the doctrine to attack the joinder

    of Plaintiffs, and some courts refuse to do so.”) report and recommendation adopted, No. 12–

    05854, 2013 WL 1890279 (D.N.J. May 6, 2013); Reuter v. Medtronics, Inc., No. 10–3019, 2010

    WL 4628439, at *5–6 (D.N.J. Nov.5, 2010) (“Even assuming fraudulent misjoinder in its most

    expansive form was accepted in this Circuit (which it clearly is not), it would not apply here.”)

    report and recommendation adopted, No. 10–3019, 2010 WL 4902662 (D.N.J. Nov. 23, 2010)).

           Plaintiffs make this Motion based on the accompanying Memorandum, all pleadings and

    exhibits on file and any oral argument, if any, in this matter.


    Dated: December 11, 2023

                                                           Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

           I hereby certify that the foregoing document has been filed electronically on the court’s

    ECF system and is available for viewing and downloading from the ECF system. All counsel of

    record listed on the Court’s CM/ECF system are to be served by the Court via Notice of

    Electronic Filing (NEF).



                                                        By: Tayjes M. Shah




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